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CRIMINAL COMPLAINT
(Submitted electronically)

United States District Court

United States of America DOCKET NO,
Vv.

Carlos Jovany Hernandez
DOB: 2000; U.S. Citizen

DISTRICT of ARIZONA

MAGISTRATE'S “EPR 34 2 A i J

Complaint for violation of Title 21, United States Code, section 846, 841(a)(1) and 841(b)(1)(B)(v1)

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

Beginning on or before December 1, 2022 and continuing to on or about August 3, 2023, at or near Tucson,
Chandler, and elsewhere, in the District of Arizona, Carlos Jovany Hernandez did knowingly and intentionally
combine, conspire, confederate and agree with other persons known and unknown, to distribute 40 grams or more of
fentanyl; a Schedule II controlled substance; in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(B)(vi).

All in violation of Title 21, United States Code, Section 846.

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:
On December 14, 2022, during interdiction operations, U.S. Postal Inspectors identified a suspicious package that
had been delivered to the post office in Tucson on December 13, 2022. It was sent with a return address in Tucson
to a location in Rochester, NY with a tracking number (PARCEL 1). On December 15, 2022, a Postal Inspector
obtained video footage of the person mailing PARCEL 1. The footage showed a young male, later identified as
Carlos Jovany Hernandez (HERNANDEZ). HERNANDEZ was not listed on the return address as the sender of
PARCEL f. On December 16, 2022, a Postal Inspector met with a Border Patrol canine handler and had a specially
trained canine inspect PARCEL 1. The canine alerted to narcotics in PARCEL 1. The Postal Inspector
subsequently obtained a federal search warrant to inspect PARCEL 1. The Postal Inspector searched PARCEL |
and discovered approximately 112 grams of blue pills marked “M-30,” which appear similar to Oxycodone pills.
Based on training and experience, agents and inspectors believe these to contain fentanyl. The pills have been sent
to a DEA laboratory for chemical confirmation.

On January 4, 2023, Postal Inspectors identified another suspicious package that had been delivered to a post office
in Tucson on January 3, 2023. It was sent from a return address in Tucson to an address in Rochester, NY with a
tracking number (PARCEL 2). The return address on PARCEL 2 was not the same return address or listed sender
as PARCEL |. HERNANDEZ was not listed on the return address as the sender of PARCEL 2. The Tucson Postal
Inspector alerted a colleague in New York to examine PARCEL 2 when it arrived. On January 4, 2023, the Postal
Inspector in Rochester, NY examined PARCEL 2 with a specially trained narcotics canine, which alerted to the

CONTINUED ON:REVERSE
MATERIAL WITNESSES IN RELATION TO THE CHARGE:

DETENTION REQUESTED SIGNATURE OF COMPLAINANT
Being duly sworn, | declare that the foregoing Is Leia P ANkinae

true and correct to the best of my knowledge.

OFFICIAL TITLE

Dp yy Digitally signed by ROBERT FELLRATH ays
D1 9 9 Dhol. gitally signed by .
Keb (Mok . Date: 2023.08.05 14:44:21 -07°00' William Akins, U.S. Postal Inspector
Sworn to telephonically.
SIGNATURE OF MAGISTRATE JUDGE” DATE

: Z hb % f August 7, 2023
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"See Federal rules of Criminal Procedure Rules 3, 4.1 and 548

Reviewed by AUSA: Fellrath

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BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED CONTINUED: iH

presence of narcotics. On January 6, 2023, the Postal Inspector in Rochester obtained a federal search warrant for
PARCEL 2. The Inspectors discovered PARCEL 2 contained approximately 113 grams of blue pills marked “M-30,”
which appear similar to Oxycodone pills. Based on training and experience, agents and inspectors believe these to
contain fentanyl. The pills have been sent to a DEA laboratory for chemical confirmation. On January 9, 2023, a
Postal Inspector in Tucson accessed the security camera system for the Tucson Main Post Office to obtain surveillance
footage of the mailing of PARCEL 2. The footage showed HERNANDEZ mailing PARCEL 2.

On August 3, 2023, in Chandler, Arizona, HERNANDEZ met with an HSI undercover agent in an attempt to purchase
an M249s belt fed weapon system. HSI agents arrested HERNANDEZ during that purchase. After being advised of
his Miranda rights and waiving those rights, HERNANDEZ admitted that he had been purchasing firearms on behalf
of Mexican drug trafficking organizations. HERNANDEZ also admitted to packaging and mailing PARCEL | and
PARCEL 2.
